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                                        MICHAEL HUESTON
                                              ATTORNEY                 A T     LAW
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                                                              June 27, 2019


BY ECF
The Honorable Ann M. Donnelly
United States District Court
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

                       Re: United States v. Lucio Celli, 19 Cr. 127 (AMD)


Your Honor:

                As per the parties’ June 26, 2019 conference, I have attached a proposed Criminal
Justice Act 20 order appointing me as Curcio counsel for Mr. Lucio Celli, and ask that it be
endorsed, nunc pro tunc, as of June 26, 2019, and filed so that an electronic voucher can be opened.

                       I thank the Court for its attention to this matter.


                                                                                   Respectfully,


                                                                                   s/
                                                                                   Michael Hueston



Enc.
